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              Exhibit B
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


   OKLAHOMA FIREFIGHTERS PENSION
   AND RETIREMENT SYSTEM,                               No. 1:22-cv-03026-ALC-GWG

                           Plaintiff,
                   v.                                   Honorable Gabriel W. Gorenstein

   ELON R. MUSK, ELON MUSK
   REVOCABLE TRUST DATED JULY 22,
   2003, EXCESSION LLC, AND JARED
   BIRCHALL,

                           Defendants.



DECLARATION OF JORGE G. TENREIRO IN SUPPORT OF MOTION TO APPROVE
                CONFLICT SCREENING PROCEDURES

        I, JORGE G. TENREIRO, declare pursuant to 28 U.S.C. § 1746:

        1.      I am an attorney admitted to the bar of the State of New York, in good standing

since 2007, and a member of the bar of the Southern District of New York since 2008.

        2.      I submit this declaration in support of Plaintiff’s Motion to Approve Conflict

Screening Procedures. The information contained herein is true to the best of my recollection, and

I am prepared to testify to it in court if required to do so.

        3.      From December 2013 until April 4, 2025, I was employed at the United States

Securities and Exchange Commission (“SEC”), occupying various roles principally related to the

work of the SEC’s Division of Enforcement (“Enforcement”).

        4.      From approximately late August 2021 through approximately September 12, 2022,

I was detailed to the Office of the Chair of the SEC, serving as the Enforcement Counsel advising

the Chair on matters relating to Enforcement’s work.



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       5.      From December 1, 2024, through February 3, 2025, I worked as the SEC’s Chief

Litigation Counsel, overseeing the SEC’s national litigation program. As Chief Litigation

Counsel, I was one of as many as several dozen reviewers who typically review Enforcement staff

recommendations to the Commission recommending the potential filing of an Enforcement civil

action or administrative proceeding.

       6.      On January 14, 2025, the SEC filed the lawsuit SEC v. Musk, No. 25-cv-00105

(D.D.C.), alleging a violation of Section 13(d) of the Securities Exchange Act of 1934 and Rule

13d-1 thereunder (“SEC v. Musk”), with respect to Mr. Musk’s purchases of Twitter shares in 2022.

       7.      I was not and have never been, at any time, part of any SEC staff (Enforcement or

otherwise) assigned to conduct the day-to-day work, or the supervision of any work, that ultimately

led to the filing of SEC v. Musk, including but not limited to investigation SEC File No. SF-4519

(“SEC Investigation”), the miscellaneous district court action SEC v. Musk, No. 3:23-mc-80253

(N.D. Cal. filed October 5, 2023) (the “Misc Action”), or any other investigation or matter.

       8.      I have never participated in the Misc Action in any way.

       9.      My substantive participation in the SEC Investigation was limited to the following:

            a. In the normal course of my duties as Enforcement Counsel to the Chair, I would

               have likely participated in discussions with the Chair that may have occurred

               discussing the SEC Investigation. I have no recollection of any content regarding

               any discussion of the SEC Investigation that may have occurred during my detail

               as Enforcement Counsel to the Chair.

            b. In the normal course of my duties as Chief Litigation Counsel, from approximately

               December 1, 2024, through the filing of SEC v. Musk, I was responsible for

               participating in certain discussions concerning the SEC Investigation and the then-



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                potential SEC civil enforcement action and for reviewing and commenting on

                documents relating to the decision of whether to file the then-potential civil

                enforcement action.

        10.     I have no recollection of any confidential government information underlying the

allegations in SEC v. Musk or relating to the SEC Investigation, or of any allegations in this case,

or, to the best of my knowledge, of any other information that could be used to the material

disadvantage of Mr. Musk in any matter.

        11.     I did not substantively participate in the SEC Investigation or in SEC v. Musk, or in

any other matter relating to those matters, after January 14, 2025.

        12.     On January 21, 2025, I began contacting potential outside employers to explore the

possibility of post-SEC employment.

        13.     On January 31, 2025, I was informed by SEC leadership that, effective February 3,

2025, I would commence a detail in the SEC’s Office of Information Technology. I had no further

involvement with Enforcement or any of its investigations or litigations after January 31, 2025.

        14.     On February 3, 2025, I contacted a former classmate from law school who I knew

had worked at a major plaintiffs’ side firm. I let him know that I was considering the next steps in

my career outside the SEC and that I was interested in exploring employment options with

plaintiffs’ side firms.

        15.     On February 6, 2025, my former classmate put me in touch with or directed me to

various individuals at numerous firms across the plaintiffs’ bar, including two partners who work

for plaintiff’s counsel, the law firm Bernstein, Litowitz, Berger and Grossmann LLP (“BLBG”).

        16.     I contacted those two partners via email on February 6, and had zoom meetings

with them during the week of February 10, 2025, to discuss BLBG.



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       17.      On February 14, 2025, I spoke to a third BLBG partner, John Rizio-Hamilton, to

set up a time to meet to further discuss the work of BLBG.

       18.      On February 21, 2025, I met with Rizio-Hamilton to discuss the possibility of

joining BLBG. I met with additional BLBG partners in March 2025 to discuss the possibility of

joining BLBG.

       19.      At various times in February and March of 2025, I discussed with various

individuals at the SEC’s Office of Ethics Counsel and Office of the General Counsel the obligations

and restrictions that would apply with respect to my post-SEC employment, including specifically

with respect to any potential employment at a plaintiff’s side firm, and including specifically Rule

1.11 of the New York Rules of Professional Conduct.

       20.      On or around March 14, 2025, BLBG informed me that any offer to join the firm

would be contingent on (1) my agreement not to participate in any way in the representation of

any BLBG client adverse to any defendant in any case in which BLBG worked as counsel and in

which non-public information acquired while I was an SEC employee could be used to the material

disadvantage of any defendant and (2) either the defendant(s)’ or the relevant court’s approval of

a conflict screening procedure that would preclude my participation in any case in which BLBG

worked as counsel and in which non-public information acquired while I was an SEC employee

could be used to the material disadvantage of any defendant. I agreed to comply with these

instructions.

       21.      Between March 15 and March 17, 2025, I became aware for the first time that

BLBG was counsel for the plaintiffs in this action, and I promptly informed BLBG of the limited

circumstances of my involvement in SEC discussions leading up to the filing of SEC v. Musk.




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       22.     To the best of my knowledge, I am not in possession or aware of any non-public

information acquired while I was an SEC employee that could be used to the material disadvantage

of any defendant in this case.

       23.     On March 20, 2025, I gave the SEC notice of my intent to separate from the agency

under a “Voluntary Incentive Separation Program” that the agency offered to employees, requiring

them to separate from the SEC no later than April 4, 2025.

       24.     On April 4, 2025, I completed my separation from the SEC.

       25.     I did not take or retain any information, confidential or otherwise, about the SEC

Investigation or the defendants in SEC v. Musk, when I left the SEC.

       26.     My departure from the SEC was supervised at all times by various individuals

designated by the SEC to oversee the separation of an employee from the SEC, including

individuals at the SEC’s Office of Ethics Counsel, Office of General Counsel, Office of

Information Technology, and Division of Enforcement.

       27.     I have not disclosed and will never disclose to anyone at BLBG any non-public

information acquired while I was an SEC employee, including but not limited to any non-public

information acquired while I was an SEC employee that could be used to the material disadvantage

of any defendant in any case in which BLBG serves as counsel.

       28.     My obligation not to disclose to anyone, including anyone at BLBG, any non-public

information acquired while I was an SEC employee is also consistent with my legal and

professional obligations as a member of the Bar of the State of New York, SEC rules and

regulations, and federal criminal and civil statutes, all of which I understand and affirm are

applicable to me as a former SEC employee and binding on my post-SEC employment conduct.




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       29.      I have never discussed with anyone who was not at the time an SEC employee,

including specifically anyone at BLBG, any non-public information about the SEC Investigation,

SEC v. Musk or about this matter.

       30.      My only discussions with anyone at BLBG about this matter and about SEC v. Musk

have been as part of the conflicts checks process and this proposed conflict screening procedure,

both as they relate to my potential employment at BLBG, and did not involve any discussion of

any non-public information.

       31.      I have also recently re-reviewed the New York Rules of Professional Conduct,

including specifically Rule 1.11 thereof:

             a. I acknowledge and agree not to communicate with anyone at BLBG about the SEC

                Investigation or the SEC v. Musk or this matter.

             b. I agree to avoid any contact with BLBG files or other materials relating to this

                matter.

             c. I understand that if I join BLBG, I will not be apportioned any part of any fee

                generated by this matter.

      32.       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed on April _22_, 2025.

                                                      By: ____________________________
                                                             Jorge G. Tenreiro
